Case 1:22-cr-00200-APM Document 71-1 Filed 01/24/23 Page 1 of 3




                EXHIBIT A
           Case 1:22-cr-00200-APM Document 71-1 Filed 01/24/23 Page 2 of 3




SILVERMAN                          A Limited Liability Company
                                   400 East Pratt Street – Suite 900
                                                                                                Writer's Direct Con tact:
                                                                                                          Evan Corcoran

THOMPSON
                                   Baltimore, Maryland 2 1 2 0 2                                            410-385-2225
                                   Telephone 4 1 0 . 3 8 5 . 2 2 2 5                   ecorcoran@silvermanthompson.com
                                   Facsimile 410.547.2432
Silverman Thompson Slutkin White   silvermanthompson.com
                                   Baltimore | Towson | New York | Washington, DC

   ATTORNEYS AT LAW


                                            January 23, 2023


 Via Electronic Mail

 Peter K. Navarro
 c/o Stanley Woodward, Jr., Esq.
 Brand Woodward Law
 Washington, D.C. 20005

         Re:     United States v. Peter K. Navarro, Crim No. 22-200 (APM)


 Dear Mr. Navarro:
 I represent President Donald J. Trump.
 It is our understanding that you received a subpoena from the January 6th Committee seeking
 records and testimony. Our understanding is that the information sought by the subpoena included
 information which is protected from disclosure by the executive and other privileges, including
 but not limited to the presidential communications, deliberative process, and attorney-client
 privileges. President Trump consistently asserts and defends these privileges – which must be
 preserved so that a President may perform his constitutionally-based duties.
 President Trump has requested that I communicate with you regarding this matter, as follows:
 During President Trump’s administration, you served for four years as a close senior aide and
 advisor, most recently as the Assistant to the President, Director of Trade and Manufacturing
 Policy, and National Defense Production Act Policy Coordinator and, prior to that, as Deputy
 Assistant to the President and Director of the White House Trade Council. As a senior Presidential
 aide and advisor, you and President Trump regularly discussed matters of critical importance to
 the Nation and the Office of the President. The discussions pertained to trade and manufacturing
 policy and a wide variety of other subjects, including topics that are important to the security of
 this country.
 It is critical to the functioning of the Office of the President that your communications with
 President Trump remain confidential. Such confidentiality ensures that President Trump could
 obtain your candid counsel and advice without concern about the possibility of disclosure to third
 parties. President Trump considers the conversations and correspondence you had with him, like
 those he had with his other senior aides, to be protected against disclosure by executive privilege.
        Case 1:22-cr-00200-APM Document 71-1 Filed 01/24/23 Page 3 of 3




A President’s expectation of confidentiality in the communications he has with senior aides is
protected by the United States Constitution from intrusions by Congress and other third parties.
This requirement of confidentiality, known as executive privilege, is in the public interest and is
vital to the institution of the Presidency and the functioning of the Executive Branch.
In addition to executive privilege, the Department of Justice’s Office of Legal Counsel has
recognized for more than 50 years, under administrations from both political parties, that a
President and his senior advisors have immunity from subpoenas issued by Congress or any of its
committees.
Accordingly, this confirms President Trump’s position that, as one of his senior advisors, you had
an obligation to assert executive privilege on his behalf and fully comply with the principles of
confidentiality stated above when you responded to the Committee’s subpoena. 1
                                      With best regards,




                                      ________________________
                                      M. Evan Corcoran


cc: Stanley Woodward, Jr. (via electronic mail)




1
 See Comm. on the Judiciary, U.S. House of Representatives v. McGahn, 415 F. Supp. 3d 148,
213 n. 34 (D.D.C. 2019 (acknowledging the “legal duty on the part of the aide to invoke
[executive] privilege on the President’s behalf”).
                                                  2
